Case 2:20-cv-00983-TSZ Document 75-81 Filed 02/07/22 Page 1 of 2




 EXHIBIT 81
                                                                                                       HUNTERS CAPITAL
                Case 2:20-cv-00983-TSZ Document 75-81 Filed 02/07/22 Page 2 of 2

  Message
  From:        Michael Malone [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
               (FYDI BOH F23SPDLT)/CN =RE Cl Pl ENTS/CN =D38FDC2BD2044FEAA3C2550819EE7D70-M ICHAE L]
  Sent:        7/1/2020 11:31:28 PM
  To:          Barbara Malone [barbaracmalone1@comcast.net]
  Subject:     Fwd:




  Michael J Malone
  iPhone
  michael@hunterscapital.com

  Begin forwarded message:

  From: "Best, Carmen" <cannen.best@seattle.gov>
  Date: July l, 2020 at 4:07:43 PM PDT
  To: Michael Malone <Michael@hunterscapital.com>
  Subject: RE:

  Thank you Mike, I appreciate it!

  -----Original Message-----
  From: Michael Malone [mailto:Michael@hunterscapital.com]
  Sent: Wednesday, July 01, 2020 7:34 AM
  To: Best, Carmen <Carmen.Best@seattle.gov>
  Subject:

  CAUTION: External Email

  Carmen,
  Nice work Carmen!!!
  Thank you so very much!
  I'm watching from the roof of our apartment building.
  Now, let's get our ladies and gentlemen back in their building!!
  Thank you, you've done a great job under the most difficult of circumstances!

  Mike

  Michael J Malone
  iPhone
  michael@hunterscapital.com




CONFIDENTIAL                                                                                              CHOP-0016627
